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  11   Inc., XPO Logistics, Inc., XPO Logistics,
       LLC, XPO Intermodal Solutions, Inc., and
  12
       XPO Intermodal Services, LLC
  13

  14                       UNITED STATES DISTRICT COURT
  15                     CENTRAL DISTRICT OF CALIFORNIA
  16
       VICTOR CORTEZ ARRELLANO,                    Case No. 2:18-cv-08220-RGK-E
  17   AND ON BEHALF OF ALL
  18   UNNAMED PLAINTIFFS                          DEFENDANTS’ UNOPPOSED
       SIMILARLY SITUATED,                         APPLICATION FOR LEAVE TO
  19                                               FILE CERTAIN DOCUMENTS
  20
                         Plaintiffs,               UNDER SEAL

  21         v.                                    Dept:    850
                                                   Judge:   Hon. R. Gary Klausner
  22   XPO PORT SERVICE INC.; and DOES
  23
       1 through 50, inclusive,                    Consolidated with Case No.:
                                                   2:19-CV-09199-RGK-E
  24                     Defendants.
  25                                               Related to Case Nos.:
                                                   2:18-cv-03736-RGK-E
  26
                                                   2:18-cv-06175-RGK-E
  27                                               2:18-cv-09144-RGK-E
  28
                                                                    DEFS’ UNOPPOSED APP.
                                                                      TO FILE UNDER SEAL
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   1      UNOPPOSED APPLICATION TO FILE DOCUMENTS UNDER SEAL
   2         Pursuant to Civil Local Rules 79-5 and 79-5.2.2(a) and the Stipulated
   3   Amended Protective Order (Alvarez et al. v. XPO Logistics Cartage, LLC et al.
   4   (“Alvarez”), Case No. 2:18-cv-03736-RGK-E, Dkt. 107), Defendants XPO
   5   Logistics Port Services, LLC, XPO Port Services, Inc., XPO Logistics, Inc., XPO
   6   Logistics, LLC, XPO Intermodal Solutions, Inc., and XPO Intermodal Services,
   7   LLC (collectively, “Defendants” or “XPO”) make this Application to file under seal
   8   the enclosed documents or specific portions thereof: (1) the underlined portions of
   9   Defendants’ Opposition to Plaintiffs’ Renewed Motion for Class Certification
  10   (“Defendants’ Opposition”); (2) Exhibits A, D, and X to the Declaration of Scott
  11   Voelz in Support of Defendants’ Opposition (“Voelz Declaration”); (3) the
  12   underlined portions of Exhibits B, G, H, I, J, L, M, O, P, R, S, V, W, and Y to the
  13   Voelz Declaration; and (4) the underlined portions of the Declarations of Hector
  14   Carranza, Carlos Cota, and Jose Moran in Support of Defendants’ Opposition (the
  15   “Declarations”). These documents contain highly sensitive information regarding
  16   XPO’s business strategy and business models as well as the business strategies and
  17   models utilized by XPO contractors, which, if revealed publicly, could harm XPO’s
  18   and the contractors’ competitive standing. (See Exhibit A to the Decl. of Scott
  19   Voelz (“Voelz Sealing Decl.”), filed concurrently herewith, at ¶¶ 4-13.)
  20         Certain of the above referenced documents, including another Independent
  21   Contractor Operating Contract like Exhibit A and the Safety Matters guide excerpts
  22   that make up Exhibit D, were the subject of XPO’s application to seal filed on
  23   October 31, 2019 in a related matter. (Alvarez Dkt. 160.) On November 12, 2019,
  24   the then-presiding Court granted XPO’s application to seal with respect to these
  25   materials. (Alvarez Dkt. 172.)
  26         Prior to filing this Application, Defendants’ counsel conferred with
  27   Plaintiffs’ counsel and identified the materials at issue. Plaintiffs’ counsel advised
  28   that Plaintiffs do not oppose this Application. (See Voelz Sealing Decl. ¶ 20.)
                                                                         DEFS’ UNOPPOSED APP.
                                                 -2-                       TO FILE UNDER SEAL
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   1   I.    LEGAL STANDARD
   2         Courts “recognize a general right to inspect and copy public records and
   3   documents, including judicial records.” Nixon v. Warner Commc’ns, Inc., 435 U.S.
   4   589, 597 & n.7 (1978). This right, however, is not absolute. Id. at 598. A party
   5   seeking to seal documents attached to a dispositive motion must “‘articulate[]
   6   compelling reasons’” to keep the records sealed. Kamakana v. City & Cty. of
   7   Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Foltz v. State Farm Mut.
   8   Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)). However, “‘the vast majority
   9   of [] courts within this circuit’ treat motions for class certification as non-
  10   dispositive motions to which the ‘good cause’ sealing standard applies.” Dugan v.
  11   Lloyds TSB Bank, PLC, 2013 WL 1435223, at *1 (N.D. Cal. Apr. 9, 2013)
  12   (alteration in original); see also Santos v. TWC Admin. LLC, No., 2014 WL
  13   12703020, at *2 (C.D. Cal. May 27, 2014). Here, there are compelling reasons and
  14   there is good cause for non-disclosure of the documents described above.
  15         Under the “compelling reasons” standard, courts weigh a party’s “compelling
  16   reasons” justifying non-disclosure, including “whether disclosure of the material
  17   could result in improper use of the material . . . or infringement upon trade secrets”
  18   and the “public interest in understanding the judicial process.” Pintos v. Pac.
  19   Creditors Ass’n, 605 F.3d 665, 679 & n.6 (9th Cir. 2010). Courts “refuse[] to
  20   permit their files to serve . . . as sources of business information that might harm a
  21   litigant’s competitive standing.” Nixon, 435 U.S. at 598. “‘[C]ompelling reasons’
  22   sufficient to outweigh the public’s interest in disclosure and justify sealing court
  23   records exist when such ‘court files might have become a vehicle for improper
  24   purposes,’ such as the use of records to . . . release trade secrets.’” Kamakana, 447
  25   F.3d at 1179. In fact, “[t]he publication of materials that could result in
  26   infringement upon trade secrets has long been considered a factor that would
  27   overcome th[e] strong presumption [of public access].” Apple Inc. v. Psystar
  28   Corp., 658 F.3d 1150, 1162 (9th Cir. 2011). “‘[A] trade secret may consist of any
                                                                           DEFS’ UNOPPOSED APP.
                                                  -3-                        TO FILE UNDER SEAL
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   1   formula, pattern, device or compilation of information which is used in one’s
   2   business, and which gives him an opportunity to obtain an advantage over
   3   competitors who do not know or use it.’” Apple Inc. v. Samsung Elecs. Co., 727
   4   F.3d 1214, 1222 (Fed. Cir. 2013) (applying Ninth Circuit law and quoting
   5   Restatement (First) of Torts § 757, cmt. b).
   6         Accordingly, courts have found compelling reasons to seal documents that
   7   would reveal a company’s business strategy and business models, because
   8   disclosure of this information could harm the company’s competitive standing. See
   9   Koninklijke Philips N.V. v. Elec-Tech Int’l Co., Ltd., 2015 WL 581574, at *2-3
  10   (N.D. Cal. Feb. 10, 2015) (finding compelling reasons to seal contracts regarding
  11   the terms and conditions of an employment relationship); Velasco v. Chrysler Grp.
  12   LLC, 2017 WL 445241, at *2 (C.D. Cal. Jan. 30, 2017) (noting that courts in the
  13   Ninth Circuit have sealed documents containing information about proprietary
  14   business operations, a company’s business model, agreements with clients, and
  15   internal policies and strategies); Algarin v. Maybelline, LLC, 2014 WL 690410, at
  16   *3 (S.D. Cal. Feb. 21, 2014) (finding compelling reasons to seal documents
  17   containing “confidential business material,” as “[p]ublic disclosure . . . could result
  18   in improper use by business competitors seeking to replicate [the company’s]
  19   business practices and circumvent the time and resources necessary in developing
  20   their own practices and strategies”); Rich v. Shrader, 2013 WL 6028305, at *4
  21   (S.D. Cal. Nov. 13, 2013) (finding compelling reasons to seal “business strategies
  22   and secrets,” as “[s]uch information may be utilized by business competitors
  23   seeking to gain an advantage by circumventing the time and resources necessary to
  24   develop their own business strategies and models”).
  25         Under the “good cause” standard, courts will shield documents from public
  26   disclosure where the parties express their intent to keep the document confidential.
  27   See Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1212 (9th Cir. 2002). On June
  28   20, 2019, this Court entered a Stipulated Amended Protective Order (“Amended
                                                                          DEFS’ UNOPPOSED APP.
                                                 -4-                        TO FILE UNDER SEAL
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   1   Protective Order”) governing the disclosure of confidential, proprietary, non-public
   2   or private information. (Dkt. 107.) Where, as here, “a district court grants a
   3   protective order to seal documents during discovery, the Court has already
   4   determined that good cause exists to protect the documents from being disclosed to
   5   the public by balancing the needs for discovery against the need for
   6   confidentiality.” Melaleuca Inc. v. Bartholomew, 2012 WL 5931690, at *1 (D.
   7   Idaho Nov. 27, 2012). Courts also have found “good cause” to seal confidential
   8   information, where “the disclosure of th[e] information could cause Defendants[]
   9   competitive harm.” In re High-Tech Employee Antitrust Litig., 2013 WL 163779,
  10   at *5 (N.D. Cal. Jan. 15, 2013) (sealing “confidential information regarding
  11   Defendants’ compensation and recruiting strategies, policies, and procedures”).
  12         As discussed above, on November 12, 2019, the then-presiding Court granted
  13   XPO’s application to seal with respect to another contract like Exhibit A as well as
  14   the Safety Matters Guide attached as Exhibit D on the same grounds advanced in
  15   this current Application. (Alvarez Dkt. 172.)
  16   II.   COMPELLING REASONS AND GOOD CAUSE EXIST FOR FILING
  17         THE IDENTIFIED DOCUMENTS UNDER SEAL
  18         Defendants’ Opposition and the above-referenced documents submitted
  19   along with it should be filed under seal because the contents therein contain
  20   Defendants’ confidential documents and business information or the Contractors’
  21   confidential documents and business information.
  22         Exhibit A to the Voelz Declaration—an Independent Contractor Operating
  23   Contract entered into between XPO Port Services, Inc. and Plaintiff Manuel de
  24   Jesus Martinez Mejia—discloses the details of XPO’s independent contractor
  25   model and compensation structure, public disclosure of which would harm
  26   Defendants’ profitability. (See Voelz Sealing Decl. ¶¶ 12-15, Ex. A ¶¶ 4-7.) If this
  27   document were publicly disclosed, XPO would be disadvantaged, as its competitors
  28   would gain unfair insight into XPO’s internal business model and strategies and
                                                                        DEFS’ UNOPPOSED APP.
                                                -5-                       TO FILE UNDER SEAL
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   1   could therefore avoid investing the time and resources XPO has by adopting its
   2   business strategies and thereby undercut XPO’s business—and those of the owner-
   3   operators and entities with which it contracts—by offering customers lower prices.
   4   (Id.) Disclosure of this document would thus harm XPO’s competitive advantage.
   5   (Id.) Furthermore, Defendants designated this document as confidential pursuant to
   6   the parties’ Amended Protective Order, which governs the disclosure of
   7   confidential and proprietary information. (See Alvarez Dkt. 107.) As such, both
   8   parties intend to keep these documents from public disclosure, as evidenced by
   9   their decision to enter into a protective order preventing disclosure of, among other
  10   things, confidential business information. (See id. ¶ 2.) Accordingly, Exhibit A to
  11   the Voelz Declaration should be filed under seal to comply with the terms of the
  12   Amended Protective Order and to prevent harm to Defendants from the public
  13   disclosure of their confidential and sensitive business information.
  14          Exhibit D to the Voelz Declaration—the Safety Matters Guide—should be
  15   filed under seal because it contains XPO’s internal information, which has not been
  16   publicly disclosed. (Voelz Sealing Decl. ¶¶ 16-17, Ex. A ¶ 8.) Disclosure of the
  17   Safety Matters Guide would harm XPO and put it at a competitive disadvantage
  18   because XPO’s competitors would obtain key information about its business
  19   strategies and practices with respect to safety. (Id.) In addition, Defendants
  20   designated the Safety Matters Guide as confidential pursuant to the parties’
  21   Amended Protective Order. (Alvarez Dkt. 107.) Therefore, Exhibit D to the Voelz
  22   Declaration should be filed under seal to comply with the terms of the Amended
  23   Protective Order and to prevent XPO’s confidential information from being made
  24   publicly available and thereby harming Defendants’ competitive edge and
  25   profitability.
  26          Exhibit X to the Voelz Declaration—a putative class list—should be filed
  27   under seal because it contains the names of individuals and incorporated entities
  28   with which XPO has contracted during the putative class period, information that
                                                                        DEFS’ UNOPPOSED APP.
                                                -6-                       TO FILE UNDER SEAL
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   1   has not been publicly disclosed. (Voelz Sealing Decl. ¶ 18, Ex. A ¶ 9.) Disclosure
   2   of the putative class list would harm XPO and put it at a competitive disadvantage
   3   because XPO’s competitors would obtain information regarding the number of
   4   contractors XPO contracts with, and it would likewise reveal identifying
   5   information of those contractors. (Id.) In addition, Defendants designated the
   6   putative class list as confidential pursuant to the parties’ Amended Protective
   7   Order. (Alvarez Dkt. 107.) Therefore, Exhibit X to the Voelz Declaration should
   8   be filed under seal to comply with the terms of the Amended Protective Order and
   9   to prevent XPO’s (and putative class members’) confidential information from
  10   being made publicly available.
  11         The underlined portions of the deposition transcripts of William Maleski,
  12   Felix Nunez Duarte, Edgardo Villatoro, Gerald Daniels, Manuel de Jesus Martinez
  13   Mejia, Hector Carranza, Christina Hernandez, Guillermo Sabory, Louis Guy, and
  14   Jeffrey Trauner, excerpts from which are attached as Exhibits B, G, H, I, J, L, M, O,
  15   P, R, S, and Y to the Voelz Declaration, and the underlined portions of Felix Nunez
  16   Duarte’s Interrogatory Responses and the letter from Alexander Larro to Plaintiffs’
  17   counsel, copies of which are attached as Exhibits V and W to the Voelz
  18   Declaration, should be filed under seal, along with the underlined portions of the
  19   Declarations. These portions of the depositions, declarations, and other documents
  20   contain highly sensitive and confidential information that has not been publicly
  21   disclosed, including the names of XPO’s customers and vendors and XPO’s
  22   internal pricing strategy, operating systems and programs, and operations
  23   information, such as XPO’s dispatching practices. (Voelz Sealing Decl. ¶ 19, Ex. A
  24   ¶¶ 10-12.) If this information were disclosed publicly, XPO would be at a
  25   significant competitive disadvantage because its competitors would gain unfair
  26   insight into XPO’s pricing strategy, its operating systems and programs, and other
  27   operations and could therefore avoid investing the time and resources XPO has by
  28   adopting XPO’s models, programs, and operational structure. (Id.) This, in turn,
                                                                        DEFS’ UNOPPOSED APP.
                                                -7-                       TO FILE UNDER SEAL
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   1     would harm XPO’s competitive edge and decrease its profitability. (Id.) In
   2     addition, the disclosure of the names of XPO’s customers and vendors would
   3     provide XPO’s competitors unfair insight into XPO’s customer base and the
   4     vendors with which it works, and XPO’s competitors could contact those customers
   5     to offer competing services or those vendors to start working with them, harming
   6     XPO’s competitive edge and decreasing its profitability. (Id.) Furthermore, the
   7     Declarations contain non-public information about how specific Contractors have
   8     chosen to operate their businesses, including the number of drivers they have hired
   9     or contracted with and their work for other companies in addition to XPO. (Voelz
  10     Sealing Decl. ¶ 19, Ex. A ¶ 13.)
  11             The underlined portions of Defendants’ Opposition on pages 2, 4-5, 8, 10,
  12     and 22 should be filed under seal because those portions disclose and rely on the
  13     confidential information contained in the documents described above. (Voelz
  14     Sealing Decl. ¶ 19.)
  15             For these reasons, Defendants respectfully request that the Court grant this
  16     application to file under seal the portions of the documents indicated below
  17     pursuant to Local Rule 79-5.2.2(a):
  18
          Document                                    Portions to Be Filed Under Seal
  19
       1. Exhibit A to the Voelz Declaration,         Entire Document
  20
          Independent Contractor Operating
  21
          Contract between XPO Port Services,
  22
          Inc. and Plaintiff Manuel de Jesus
  23
          Martinez Mejia, executed on March 8,
  24
          2016
  25
       2. Exhibit B to the Voelz Declaration,         Underlined Portion on page 20
  26
          30(b)(6) Deposition of William
  27
          Maleski, December 20, 2018
  28
                                                                           DEFS’ UNOPPOSED APP.
                                                   -8-                       TO FILE UNDER SEAL
                                                                              2:18-CV-08220-RGK-E
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   1
          Document                                  Portions to Be Filed Under Seal
   2
       3. Exhibit D to the Voelz Declaration,       Entire Document
   3
          Safety Matters: Contractor’s Guide to
   4
          XPO Intermodal’s Operations,
   5
          Environmentalism, Security, and Safety
   6
          Matters, August 2018
   7
          Exhibit G to the Voelz Declaration,       Underlined Portions on pages 56, 92,
   8
          Deposition of Felix Nunez Duarte,         and 108
   9
          October 1, 2019
  10
          Exhibit H to the Voelz Declaration,       Underlined Portions on pages 55, 82-
  11
          Deposition of Edgardo Villatoro,          84, 99, and 130 and on Errata page 1
  12
          March 3, 2020
  13
          Exhibit I to the Voelz Declaration,       Underlined Portions on pages 55, 57-
  14
          Deposition of Gerald Daniels, February 60, and 113-14
  15
          26, 2020
  16
       4. Exhibit J to the Voelz Declaration,       Underlined Portion on page 77
  17
          Deposition of Manuel de Jesus
  18
          Martinez Mejia, March 4, 2020
  19
       5. Exhibit L to the Voelz Declaration,       Underlined Portions on pages 17, 59,
  20
          Deposition of Hector Carranza, July 25, 75-76, 92, and 96 and on Errata pages
  21
          2019                                      1 and 3
  22
          Exhibit M to the Voelz Declaration,       Underlined Portions on pages 75-76
  23
          Deposition of Christina Hernandez,
  24
          September 5, 2019
  25
          Exhibit O to the Voelz Declaration,       Underlined Portions on pages 55, 70,
  26
          Deposition of Guillermo Sabory,           72, 78, 128, and 151 and Errata page 3
  27
          August 1, 2019
  28
                                                                        DEFS’ UNOPPOSED APP.
                                                  -9-                     TO FILE UNDER SEAL
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   1
        Document                                    Portions to Be Filed Under Seal
   2
        Exhibit P to the Voelz Declaration,         Underlined Portions on page 25
   3
        Deposition of William Maleski, August
   4
        15, 2019
   5
        Exhibit R to the Voelz Declaration,         Underlined Portion on page 95
   6
        30(b)(6) Deposition of Louis Guy,
   7
        August 8, 2019
   8
        Exhibit S to the Voelz Declaration,         Underlined Portions on pages 56-57
   9
        Deposition of Jeffrey Trauner, August
  10
        16, 2019
  11
        Exhibit V to the Voelz Declaration,         Underlined Portion on page 6
  12
        Plaintiff Felix Nunez Duarte’s
  13
        Response to Defendant/Cross-
  14
        Complainant Special Interrogatories –
  15
        Set One, dated September 17, 2019
  16
        Exhibit W to the Voelz Declaration,         Underlined Portions on page 3
  17
        Letter from Alexander Larro to
  18
        Plaintiffs’ Counsel, dated May 26, 2020
  19
        Exhibit X to the Voelz Declaration,         Entire Document
  20
        Putative Class List
  21
        Exhibit Y to the Voelz Declaration,         Underlined Portions on pages 61 and
  22
        30(b)(6) Deposition of William              102
  23
        Maleski, August 15, 2019
  24
        Declaration of Hector Carranza in           Underlined Portions in paragraphs 3,
  25
        Support of Defendants’ Opposition           5, 7, and 9-11
  26

  27    Declaration of Carlos Cota in Support       Underlined Portions in paragraphs 3-9,
  28    of Defendants’ Opposition                   11-12, and 14
                                                                        DEFS’ UNOPPOSED APP.
                                                - 10 -                    TO FILE UNDER SEAL
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   1
        Document                                   Portions to Be Filed Under Seal
   2
        Declaration of Jose Moran in Support       Underlined Portions in paragraphs
   3
        of Defendants’ Opposition                  3-5 and 8-12
   4

   5
        Defendants’ Opposition                     Underlined Portions on pages 2, 4-5,

   6
                                                   8, 10, and 22

   7         Dated: June 22, 2020                       SCOTT VOELZ
   8                                                    O’MELVENY & MYERS LLP
   9
                                                        By: /s/ Scott Voelz
  10                                                           Scott Voelz
  11
                                                        Attorneys for Defendants XPO
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  13
                                                        Inc., XPO Logistics, LLC, XPO
  14                                                    Intermodal Solutions, Inc., and XPO
                                                        Intermodal Services, LLC
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                                                                              DEFS’ UNOPPOSED APP.
                                               - 11 -                           TO FILE UNDER SEAL
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